                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                  GREENEVILLE DIVISION

  B.P., H.A., and S.H., individually, and on           )
  behalf of all others similarly situated,             )
                                                       )
         Plaintiffs,                                   ) No: 2:23-cv-00071-TRM-JEM
  v.                                                   )
                                                       )
  CITY OF JOHNSON CITY, TENNESSEE,                     )
  a government entity, et al.                          )
                                                       )
         Defendants.                                   )



            MOTION TO QUASH BY JUSTIN JENKINS AND BRADY HIGGINS,
                       IN THEIR INDIVIDUAL CAPACITIES
                               FED. R. CIV. P. 45


         The Defendants, Justin Jenkins and Brady Higgins, in their individual capacities, hereby

  move to quash subpoenas issued by Plaintiffs on or about May 17, 2024, for Jenkins’ financial

  records from Eastman Credit Union, Appalachian Community Federal Credit Union and Accounting

  Solutions, LLC, and for Higgins’ financial records from Northeast Community Credit Union. Jenkins

  and Higgins submit the information sought by the subpoenas is not relevant, nor likely to lead to

  relevant, admissible evidence, given the nature of the Plaintiffs’ claims and are, at best, a fishing

  expedition, and at worst, an attempt to harass Jenkins and Higgins.

         In addition to the memorandum filed contemporaneously herewith, Jenkins and Higgins also

  rely upon the following exhibits:

                 Ex. 1          Subpoenas sent by Plaintiffs’ counsel

                 Ex. 2          Jenkins’ responses to Plaintiffs’ first discovery


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                 Ex. 3         Responses of Jenkins and Higgins to Plaintiffs’ discovery

                 Ex. 4         May 13-16, 2024 emails between counsel re: financial documents

                 Ex. 5         4/18/2024 email with attached subpoenas

                 Ex. 6         5/16/2024 email re financial subpoenas

         For the reasons herein described and more particularly set forth in the accompanying

  memorandum, Jenkins and Higgins respectfully request that the Court enter an order quashing the

  subpoenas to entities referenced above and award sanctions to these Defendants for having to file

  this motion.

                                                      Respectfully submitted,

                                                      ROBINSON, SMITH & WELLS, PLLC

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                                    CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing pleading was filed electronically on May 18,
  2024. Notice of this filing will be sent by operation of the Court's electronic filing system to all
  parties indicated on the electronic filing receipt. All other parties will be served by regular U.S. Mail.
  Parties may access this filing through the Court's electronic filing system.

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